
707 S.E.2d 240 (2011)
STATE of North Carolina
v.
Travis Levance WALTERS.
No. 58A02-5.
Supreme Court of North Carolina.
April 7, 2011.
Buren R. Shields, III, Special Deputy Attorney General, for State of NC.
M. Alexander Charns, Durham, for Walters, Travis Levance.
L. Johnson Britt, III, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 13th of January 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of April 2011."
JACKSON, J. recused.
